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                                           #777



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

ERIC BURNETT,                                 )
                                              )
                Petitioner/Defendant,         )
                                              )
vs.                                           )       Civil No. 10-CV-164-JPG
                                              )
UNITED STATES OF AMERICA,                     )       Criminal No. 01-CR-40017-JPG
                                              )
                Respondent/Plaintiff.         )

                                MEMORANDUM AND ORDER

         This matter comes before the Court on the Mandate of the Court of Appeals reversing the

Court’s denial of petitioner Eric Burnett’s motion to vacate, set aside or correct sentence

pursuant to 28 U.S.C. §2255 (Doc. 33). Pursuant to the Mandate, the Court GRANTS Burnett’s

§ 2255 motion (Doc. 1) on the grounds that counsel provided constitutionally ineffective

assistance of counsel by failing to consult with Burnett about filing a notice of appeal of his

sentence revocation before the time to appeal had expired. See Roe v. Flores-Ortega, 528 U.S.

470 (2000). As a remedy, the Court ORDERS that Burnett shall be allowed to proceed now as

if on direct appeal, with the assistance of counsel. See Castellanos v. United States, 26 F.3d 717,

720 (7th Cir. 1994).

         The Court further:

•        DIRECTS the Clerk of Court to enter judgment accordingly in this case;

•        VACATES the March 17, 2009, judgment of revocation (Doc. 448) in Burnett’s criminal
         case (Case No. 01-cr-40017);

•        DIRECTS the Courtroom Deputy to prepare and file an amended judgment of revocation
         in Burnett’s criminal case (Case No. 01-cr-40017) substantively identical to the original
         judgment of revocation (Doc. 448);

•        DIRECTS the Clerk of Court to file a notice of appeal in Burnett’s criminal case (Case
         No. 01-cr-40017) within 14 days of entry of the amended judgment, and to include the
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         judgment in this § 2255 case as part of the short record on appeal in Burnett’s criminal
         case (Case No. 01-cr-40017); and

•        ORDERS that Burnett’s current counsel continue to represent Burnett through the filing
         of the appeal in his criminal case. Counsel may request withdrawal from the Court of
         Appeals, if appropriate.

IT IS SO ORDERED.
DATED: April 5, 2012

                                               s/ J. Phil Gilbert
                                               J. PHIL GILBERT
                                               U.S. DISTRICT JUDGE




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